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  7
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  8
                       CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
  9

 10
      In re                                             Case No: 8-23-bk-10571-SC
 11
      THE LITIGATION PRACTICE GROUP P.C.,               Chapter 11
 12
                       Debtor.                          STIPULATION TO MODIFY BRIEFING
 13                                                     SCHEDULE AND TO CONTINUE
                                                        HEARING ON MOTION FOR
 14                                                     ALLOWANCE OF ADMINISTRATIVE
                                                        EXPENSE CLAIM FILED BY ADP, INC.
 15                                                     [DK. NO 665]
 16                                                     Current Hearing and Response Dates
                                                        Hearing Date: April 11, 2024
 17                                                     Trustee's Response Due: March 21, 2024
                                                        Reply by Claimant Due: March 28, 2024
 18                                                     Time: 11:00 a.m.
                                                        Ctrm: Courtroom 5C
 19                                                     411 West Fourth Street
                                                        Santa Ana, CA 92701
 20
                                                        Proposed Hearing and Response Dates
 21                                                     Hearing Date: May 23, 2024
                                                        Trustee's Response Due: May 2, 2024
 22                                                     Reply by Claimant Due: May 9, 2024
                                                        Time: 11:00 a.m.
 23                                                     Ctrm: Courtroom 5C
                                                        411 West Fourth Street
 24                                                     Santa Ana, CA 92701
 25

 26 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

 27 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 28

                           STIPULATION TO MODIFY BRIEFING SCHEDULE RE: ADP, INC.
      4887-5831-6646
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   1             This Stipulation ("Stipulation") is entered into by and between Richard A. Marshack, in his

   2 capacity as Chapter 11 Trustee ("Trustee") of the Bankruptcy Estate ("Estate") of The Litigation

   3 Practice Group P.C. ("Debtor"), and ADP, Inc. ("ADP" and together with Trustee, "Parties") with

   4 regard to the following:

   5                                                  RECITALS

   6             A.     On March 20, 2023, the Debtor filed a voluntary petition under Chapter 11 of Title 11

   7 of the United States Code, initiating bankruptcy Case No. 8:23-bk-10571-SC in the United States

   8 Bankruptcy Court for the Central District of California, Santa Ana Division.

   9            B.      On May 8, 2023, Richard A. Marshack was appointed as the Chapter 11 Trustee of

  10 the Estate. Docket No. 65.

 11             C.      On November 11, 2023, ADP filed a Motion for Allowance and Payment of

  12 Administrative Expense Claim ("Motion"). Docket No. 665.

 13             D.      On January 5, 2024, Trustee filed a Motion to Continue Hearing on the motions for

 14 allowance of administrative expense claims. Docket No. 816.

 15             E.      On January 8, 2024, the Court entered an Order granting the Trustee's Motion to

 16 Continue Hearing, continuing the initial hearings on all matters to February 29, 2024, and treating

 17 those hearings as status conferences. Docket No. 818.

 18             F.      On February 15, 2024, Trustee filed an Omnibus Unilateral Report Regarding Status

 19 of Motions for Allowance of Administrative Expense Claim Under 11 U.S.C. Section 503(b).

 20 Docket No. 940.

 21             G.      On March 6, 2024, the Court entered a Scheduling Order, setting March 21, 2024, as

 22 the deadline for Trustee to respond to any of the motions for allowance of administrative expense

 23 claims for claimants, including ADP. Docket No. 986.

 24             H.      Trustee has been diligently investigating and verifying ADP's administrative claim to

 25 verify that all required elements have been satisfied.

 26             I.      The Parties have agreed that Trustee's review of a certain employee list is critical to

 27 substantiating ADP's administrative claim.

 28
                                                      1
                             STIPULATION TO MODIFY BRIEFING SCHEDULE RE: ADP, INC.
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   1             J.       Because of the confidentiality of certain employee data, ADP has requested and

   2 Trustee has agreed that such documentation and information will be produced pursuant to a

   3 protective order.

   4             K.       Because the current Motion hearing, as scheduled, would not permit the foregoing

   5 review and verification to occur , the Parties have reached agreement to modify the briefing schedule

   6 and continue the hearing.

   7             Wherefore, the Parties stipulate as follows:

   8             1.       The hearing on the Motion shall be continued from April 11, 2024, at 11:00 a.ln., to

   9 May 23, 2024, at 11:00 a.m.;
  10            2.        The deadline for the Trustee to file a response to the Motion shall be extended
  11 through and including May 2, 2024;

  12            3.        The deadline for ADP to file a reply to Trustee's response shall be extended through
 13 and including May 9, 2024; and

 14             4.        This Stipulation may be executed in one or more counterparts, and facsimile or
 15 electronic signatures may be used in filing this document with the Court.

 16

 17      DATED: March 18, 2024                       MARSHACK HAYS WOOD LLP
 18
                                                     By: Is! D. Edward Hays
 19                                                     D. EDWARD HAYS
 20                                                     ALINA MAMLYUK
                                                        Attorneys for Chapter 11 Trustee
 21                                                     RICHARD A. MARSHACK

 22

 23
        DATED: March          L 2024                 VENABLE LLP
 24

 25                                                  By:
                                                         GLENN D. MOSES
 26                                                      Attorneys for
                                                         ADP, INC.
 27
 28    4856-5911-7743, v. 1


                                                             3
                               STIPULATION TO MODIFY BRIEFING SCHEDULE RE: ADP, INC.
       4887-5831-6646
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: STIPULATION TO MODIFY BRIEFING SCHEDULE AND TO
CONTINUE HEARING ON MOTION FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM FILED BY ADP [DK
665] will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On March
20, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On , I served the following persons and/or entities at the last known addresses
in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration
that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR – MAIL REDIRECTED TO TRUSTEE
 THE LITIGATION PRACTICE GROUP P.C.
 17542 17TH ST, SUITE 100
 TUSTIN, CA 92780-1981

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on March 20, 2024, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 20, 2024                 Layla Buchanan                                                   /s/ Layla Buchanan
 Date                                  Printed Name                                              Signature




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